                               IN THE UNITED STATES DISTRICT COURT FOR THE
                                       WESTERN DISTRICT OF MISSOURI
                                             WESTERN DIVISION

UNITED STATES OF AMERICA

-vs-                                                                   Case No.: 13-00405-01-CR-W-BCW

RASHAWN LONG
                                                                       USM Number: 26200-045

                                                                       P.J. O’Connor, CJA
                                                                       818 Grand Ave., Ste. 300
                                                                       Kansas City, MO 64106

                                        AMENDED JUDGMENT IN A CRIMINAL CASE

Date of Original or Last Amended Judgment: February 11, 2016

Reason for Amendment:

         **Modified to include a recommendation to the Bureau of Prisons that defendant be placed in a facility in the state
of Florida** The remainder of the J&C remains unchanged.

The defendant was found guilty of Counts 1 and 2 of the Indictment on August 21, 2014. Accordingly, the court has
adjudicated that the defendant is guilty of the following offense(s):

                                                                                              Date Offense        Count
   Title & Section                                     Nature of Offense                       Concluded        Number(s)

21 U.S.C. 841(a)1),         Possession with Intent to Distribute a Mixture and Substance          10/26/13          1
(b)(1)(C)                   Containing 2-(Methylamino)-1-phenyl-1-butanone

18 U.S.C. 922(g)(1)                          Felon in Possession of a Firearm                      5/4/13           2
and 924(a)(2)

The defendant is sentenced as provided in the following pages of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

IT IS ORDERED that the defendant shall notify the United States attorney for this district within 30 days of any change of
name, residence, or mailing address until all fines, restitution, costs and special assessments imposed by this judgment
are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States attorney of any material
change in the defendant's economic circumstances.

                                                                       Date of Imposition of Sentence: February 11, 2016

                                                                       /s/Brian C. Wimes
                                                                       JUDGE BRIAN C. WIMES
                                                                       UNITED STATES DISTRICT COURT

                                                                       Dated: February 16, 2016




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                                                       IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of 240 months on Counts 1 and 120 months on Count 2, to be served consecutively; for a total term of
360 months.

        **The Court recommends to the Bureau of Prisons that the defendant be placed in a facility in the state of
Florida**

The defendant is remanded to the custody of the United States Marshal.




                                                         RETURN

I have executed this judgment as follows:




Defendant delivered on ____________________ to _________________________________

at _____________________________________________, with a certified copy of this judgment.


                                                                     ______________________________________
                                                                                    UNITED STATES MARSHAL


                                                                       By:__________________________________
                                                                                           Deputy U.S. Marshal




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                                                       SUPERVISED RELEASE

       Upon release from imprisonment, the defendant shall be on supervised release for a term of 6 years. This
consists of 6 years on Count 1 and 3 years on Count 2, the terms to run concurrently.

         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours
of release from custody of the Bureau of Prisons.

         The defendant shall not commit another federal, state or local crime.

        The defendant shall not unlawfully possess a controlled substance.         The defendant shall refrain from any
unlawful use of a controlled substance. The defendant shall submit to one drug test within 15 days of release from
imprisonment and at least two periodic drug tests thereafter, as determined by the court.

         The defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

         The defendant shall cooperate in the collection of DNA as directed by the probation officer.

         If this judgment imposes a fine or restitution, it is a condition of supervision that the defendant pays in accordance
with the Schedule of Payments sheet of this judgment.

        The defendant must comply with the standard conditions that have been adopted by this court as well as with any
additional conditions on the attached page.

                                      STANDARD CONDITIONS OF SUPERVISION

1. The defendant shall not leave the judicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;

3. The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;

4. The defendant shall support his or her dependents and meet other family responsibilities;

5. The defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or
    other acceptable reasons;

6. The defendant shall notify the probation officer at least ten (10) days prior to any change in residence or employment;

7. The defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
    controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

8. The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

9. The defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person
    convicted of a felony, unless granted permission to do so by the probation officer;

10. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation
    of any contraband observed in plain view by the probation officer;

11. The defendant shall notify the probation officer within seventy-two (72) hours of being arrested or questioned by a law
    enforcement officer;



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12. The defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without
     the permission of the court;

13. As directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
     criminal record or personal history or characteristics, and shall permit the probation officer to make such notifications and to
     confirm the defendant's compliance with such notification requirement.




                                     ADDITIONAL CONDITIONS OF SUPERVISED RELEASE

         The defendant shall also comply with the following additional conditions of supervised release:

1. The defendant shall successfully participate in any substance abuse counseling program, which may include urinalysis, sweat
     patch, or Breathalyzer testing, as approved by the Probation Office and pay any associated costs as directed by the Probation
     Office.
2.   The defendant shall satisfy any warrants/pending charges within the first 90 days of supervised release.
3.   The defendant shall submit his person, and any property, house, residence, office, vehicle, papers, computer, other electronic
     communication or data storage devices or media and effects to a search at any time, conducted by a U.S. Probation Officer at a
     reasonable time and in a reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a
     condition of release; failure to submit to a search may be grounds for revocation; the defendant shall warn any other residents
     that the premises may be subject to searches pursuant to this condition.
4.   The defendant shall comply with the Western District of Missouri Offender Employment Guideline which may include
     participation in training, counseling, and/or daily job searching as directed by the probation officer. If not in compliance with
     the condition of supervision requiring full-time employment at a lawful occupation, the defendant may be required to perform
     up to 20 hours of community service per week until employed, as approved or directed by the probation officer.




                                                   ACKNOWLEDGMENT OF CONDITIONS

I have read or have read the conditions of supervision set forth in this judgment and I fully understand them. I
have been provided a copy of them.

I understand that upon finding of a violation of probation or supervised release, the Court may (1) revoke
supervision, (2) extend the term of supervision, and/or (3) modify the conditions of supervision.



_______________________________________                        ____________________
Defendant                                                      Date

________________________________________                       ____________________
United States Probation Officer                                Date

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                                                 CRIMINAL MONETARY PENALTIES

         The defendant must pay the total criminal monetary penalties as set forth below:


           Total Assessment                                   Total Fine                                Total Restitution


                 $200.00                                       Waived                                            N/A



        IT IS ORDERED that the defendant shall pay to the United States, a special assessment of $200, which amount shall be due
immediately.

         Further, since the Court finds that the defendant does not have the ability to pay a fine, the fine is waived.




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